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 1                                                                The Honorable John C. Coughenour

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 7
                                  UNITED STATES DISTRICT COURT
 8                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 9
      HARAM CORPORATION, a Washington for
10    profit Corporation, d/b/a DREXEL DELI &           No. C18-1651-JCC
      GROCERY, NAI KYU LEE, an Individual,
11    MYUNG H. LEE, an Individual, and MYUNG
      HEE LEE, an Individual,                           UNITED STATES’ ANSWER TO
12                                                      COMPLAINT
                                 Plaintiffs,
13
                            v.
14
      UNITED STATES OF AMERICA
15
                                 Defendant.
16

17         Defendant United States of America, by and through its attorneys, Brian T. Moran, United

18 States Attorney for the Western District of Washington, and Pooja Faldu Davé, Assistant United

19 States Attorney, hereby answers the Complaint filed by Haram Corporation, d/b/a Drexel Deli &

20 Grocery, Nai Kyu Lee, Myung H. Lee, and Myung Hee Lee (together, “Plaintiffs”), as follows:

21         In response to the numbered paragraphs of the Complaint, Defendant admits, denies, or

22 otherwise avers as follows:

23

     UNITED STATES’ ANSWER TO COMPLAINT                                     UNITED STATES ATTORNEY
                                                                           700 STEWART STREET, SUITE 5220
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 1          1.      With respect to the allegations in Paragraph 1, admit that Drexel is located in Seattle,

 2 Washington. Aver that Drexel is classified as a convenience store for purposes of the Supplemental

 3 Nutrition Assistance Program (“SNAP”). Defendant lacks information or knowledge sufficient to

 4 form a belief as to the truth or the falsity of the remaining allegations in Paragraph 1, and therefore

 5 denies them.

 6          2.      With respect to the allegations in Paragraph 2, admit that Drexel is located in

 7 Washington’s 7th Congressional District, that SNAP benefits were formerly known as the food stamp

 8 program, and that the Food and Nutritional Service (“FNS”) of the United States Department of

 9 Agriculture (“USDA”) oversees the SNAP program. Admit the remainder of the allegations in

10 Paragraph 2 characterizing the USDA’s January 2018 Profile of SNAP Households for Washington

11 Congressional District 7 (“USDA Profile”) to the extent the allegations are consistent with what is

12 contained in the the USDA Profile, and deny the allegations to the extent they are inconsistent with

13 what is contained in the USDA Profile.

14          3.      With respect to the allegations in Paragraph 3, deny that Drexel currently accepts

15 EBT payments and participates in the SNAP program. Aver that Drexel accepted EBT payments

16 while it participated in the SNAP program, which Drexel was permanently disqualified from the

17 SNAP program on May 16, 2018, and that Drexel does not currently participate in the SNAP

18 program. The United States lacks information or knowledge sufficient to form a belief as to the truth

19 or the falsity of the remaining allegation in Paragraph 3, and therefore denies it.

20          4.      Admit that USDA, through FNS, sent Plaintiffs a Charging Letter on March 22, 2018.

21 Admit the remaining allegations in Paragraph 4 to the extent that they are consistent with what is

22 contained in the March 22, 2018 Charging Letter, and deny the allegations to the extent that they are

23 inconsistent with what is contained in the March 22, 2018 Charging Letter.

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 1          5.     With respect to the allegations in Paragraph 5, admit that Plaintiffs responded to the

 2 Charging Letter and that on May 16, 2018, Plaintiffs were permanently disqualified from the SNAP

 3 program. The remaining allegations in Paragraph 5 are denied.

 4          6.     The United States lacks information or knowledge sufficient to form a belief as to the

 5 allegations in Paragraph 6, and therefore denies them.

 6          7.     With respect to the allegations in Paragraph 7, admit that Plaintiffs filed a Request for

 7 Administrative Review under 7 C.F.R. § 279. Admit the remaining allegations in Paragraph 7 to the

 8 extent that they are consistent with what is contained Plaintiffs’ Request for Administrative Review,

 9 and deny the remaining allegations in Paragraph 7 to the extent that they are inconsistent with what

10 is contained in Plaintiffs’ Request for Administrative Review.

11          8.     Defendant admits the allegations in Paragraph 8.

12          9.     The allegation in Paragraph 9 regarding the timeliness of Plaintiffs’ Judicial Appeal is

13 a legal conclusion, to which no response is required. The remaining allegations in Paragraph 9

14 consist of Plaintiffs’ request for judicial review of FNS’ Final Agency Decision and require no

15 response. To the extent a response is required, the allegations in Paragraph 9 are denied.

16          10.    With respect to the allegations in Paragraph 10, admit that Plaintiffs have filed a

17 Complaint against the United States. The remaining allegations in Paragraph 10 require no response.

18          11.    The allegations in Paragraph 11 contain legal conclusions that do not require a

19 response.

20          12.    The allegations in Paragraph 12 contain legal conclusions that do not require a

21 response.

22          13.    With respect to the allegations in Paragraph 13, admit that Drexel is a named Plaintiff

23 in this lawsuit, has filed a Complaint against the United States, and operates at 523 3rd Avenue,

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 1 Seattle, Washington 98014 in King County, Washington. The United States lacks information or

 2 knowledge sufficient to form a belief as to the truth or the falsity of the allegation that Drexel is a

 3 for-profit corporation, and therefore denies that allegation. The remaining allegation in Paragraph

 4 13 requires no response.

 5          14.     With respect to the allegations in Paragraph 14, admit that Nai Kyu Lee is a named

 6 Plaintiff in this lawsuit and has filed a Complaint against the United States. The United States lacks

 7 information or knowledge sufficient to form a belief as to the truth or falsity of the allegation

 8 concerning Nai Kyu Lee’s residence, and therefore denies that allegation. The remaining allegation

 9 in Paragraph 14 requires no response.

10          15.     With respect to the allegations in Paragraph 15, admit that Myung H. Lee is a named

11 Plaintiff in this lawsuit and has filed a Complaint against the United States. The United States lacks

12 information or knowledge sufficient to form a belief as to the truth or falsity of the allegation

13 concerning Myung H. Lee’s residence, and therefore denies that allegation. The remaining

14 allegation in Paragraph 15 requires no response.

15          16.     With respect to the allegations in Paragraph 16, admit that Myung Hee Lee is a

16 named Plaintiff in this lawsuit and has filed a Complaint against the United States. The United

17 States lacks information or knowledge sufficient to form a belief as to the truth or falsity of the

18 allegation concerning Myung Hee Lee’s residence, and therefore denies that allegation. The

19 remaining allegation in Paragraph 16 requires no response.

20          17.     With respect to the allegations in Paragraph 17, admit that Plaintiffs have named the

21 United States as a defendant in this action, that USDA is an agency of the United States, and that

22 FNS is part of the USDA. The remaining allegation in Paragraph 17 requires no response.

23          18.     Admit the allegations in Paragraph 18.

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 1          19.     With respect to the allegations in Paragraph 19, admit that SNAP’s general purpose is

 2 to provide nutrition assistance to participants who meet certain financial need requirements and that

 3 SNAP benefits are issued on a state-by-state basis to participants monthly through their EBT cards.

 4 The United States lacks knowledge or information sufficient to form a belief as to the truth or falsity

 5 of the remaining allegations of Paragraph 19, and therefore denies them.

 6          20.     With respect to the allegations in Paragraph 20, admit that benefits provided to SNAP

 7 recipients are to be used only for the purchase of food and other eligible items from authorized

 8 SNAP retailers. The allegation that Drexel is an approved SNAP retailer is denied.

 9          21.     The allegations in Paragraph 21 are legal conclusions that do not require a response.

10          22.     With respect to the allegations in Paragraph 22, admit that SNAP violations by

11 retailers can occur through the sale of ineligible items to SNAP participants using EBT benefits and

12 through trafficking in SNAP benefits. The United States lacks knowledge or information sufficient

13 to form a belief as to the truth or falsity of the remaining allegations of Paragraph 22, and therefore

14 denies them.

15          23.     The allegations in Paragraph 23 are legal conclusions that do not require a response.

16          24.     The allegations in Paragraph 24 concerning 7 C.F.R. § 278.6 are legal conclusions

17 that do not require a response. The allegations in the last sentence of Paragraph 24 are denied.

18          25.     The allegations in Paragraph 25 are denied.

19          26.     The allegations in Paragraph 26 are denied.

20          27.     With respect to the allegations in Paragraph 27, admit the United States has

21 permanently disqualified Plaintiffs from participating in the SNAP program. The remainder of the

22 allegations in Paragraph 27 are denied.

23          28.     The allegations in Paragraph 28 are denied.

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 1          29.     The allegations in Paragraph 29 are denied.

 2          30.     The allegations in Paragraph 30 are denied. The allegations in Footnote 3 do not

 3 require a response. To the extent a response is required, denied.

 4          31.     Admit the allegations in Paragraph 31 to the extent that they are consistent with what

 5 is contained in the Charging Letter, and deny the allegations in Paragraph 31 to the extent that they

 6 are inconsistent with what is contained in the Charging Letter.

 7          32.     With respect to Paragraph 32, admit the characterization of the testimony of Douglas

 8 Wilson in connection with his previous designation as a Rule 30(b)(6) witness by the United States

 9 in a separate litigation to the extent that the characterization is consistent with what is contained in

10 that deposition transcript of Douglas Wilson, and deny the allegations to the extent that the

11 characterization is inconsistent with what is contained in that deposition transcript of Douglas

12 Wilson. The remaining allegations in Paragraph 32 are denied. The allegations in Footnote 4 do not

13 require a response. To the extent a response is required, denied.

14          33.     With respect to Paragraph 33, admit the characterization of the testimony of Douglas

15 Wilson in connection with his previous designation as a Rule 30(b)(6) witness by the United States

16 in a separate litigation to the extent that the characterization is consistent with what is contained in

17 that deposition transcript of Douglas Wilson, and deny the allegations to the extent the

18 characterization is inconsistent with what is contained in that deposition transcript of Douglas

19 Wilson. The remaining allegations in Paragraph 33 are denied.

20          34.     The allegations in Paragraph 34 are denied.

21          35.     With respect to Paragraph 35, admit that FNS refers stores that have been identified

22 by the ALERT system as having suspicious SNAP redemption patterns to the Investigative Analysis

23 Branch (“IAB”) for investigation. The remaining allegations in Paragraph 35 are denied.

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 1         36.     With respect to Paragraph 36, admit that the FNS case screening branch referred

 2 Drexel to IAB Section Chief Jocelyn Keh for investigation and possible civil compliance action and

 3 that Ms. Keh issued the Charge Letter and Determination Letter permanently disqualifying Drexel.

 4 The remaining allegations in Paragraph 36 are denied.

 5         37.     The allegations in Paragraph 37 are denied.

 6         38.     The allegations in Paragraph 38 are denied.

 7         39.     With respect to the allegations in Paragraph 39, admit that Plaintiffs have not yet seen

 8 the Administrative Record and that FNS did not interview households engaged in the flagged

 9 transactions. The remaining allegations in Paragraph 39 are denied.

10         40.     The allegations in Paragraph 40 and Footnote 5 are legal conclusions that do not

11 require a response.

12         41.     The allegations in Paragraph 41 are denied.

13         42.     With respect to the allegations in Paragraph 42, admit that Plaintiffs currently do not

14 have access to the Administrative Record and that Plaintiffs’ attorney made a FOIA request. The

15 remaining allegations in Paragraph 42 and Footnote 6 are denied.

16         43.     With respect to the allegations in Paragraph 43, admit that an Administrative Law

17 Judge or a department attorney did not make the Final Agency Decision. The remainder of the

18 allegations of Paragraph 43 are denied.

19         44.     The allegations in Paragraph 44 are denied.

20         45.     The allegations in Paragraph 45 are denied.

21         46.     The allegations in Paragraph 46 are denied.

22         47.     The allegations in Paragraph 47 are denied.

23         48.     The allegations in Paragraph 48 are denied.

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 1          49.     By this reference, Defendant hereby incorporates each of its responses to all

 2 preceding paragraphs.

 3          50.     The allegations in Paragraph 50 are legal conclusions that do not require a response.

 4          51.     The allegations in Paragraph 51 are legal conclusions that do not require a response.

 5          52.     The allegations in Paragraph 52 are denied.

 6          53.     The allegations in Paragraph 53 are denied.

 7          54.     The allegations in Paragraph 54 are denied.

 8          55.     The allegations in Paragraph 55 are denied.

 9          The remaining allegations (following Paragraph 55) contain Plaintiffs’ request for relief and

10 request for de novo review of the Final Agency Action and do not constitute factual allegations that

11 require a response. To the extent a response is required, the United States denies that Plaintiffs are

12 entitled to any of the relief they seek.

13          The United States denies all allegations contained in the Complaint that it has not specifically

14 admitted above.

15          WHEREFORE, the United States prays for judgment as follows:

16          1.      For an order dismissing Plaintiffs’ Complaint in its entirety with prejudice;

17          2.      For an award of Defendant’s costs and disbursements incurred in this action; and

18          3.      For any other relief in favor of the United States that the Court deems just and proper.

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      UNITED STATES’ ANSWER TO COMPLAINT                                         UNITED STATES ATTORNEY
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 1                    DATED this 5th day of March, 2019.

 2
                                          Respectfully submitted,
 3

 4                                        BRIAN T. MORAN
                                          United States Attorney
 5
                                           /s/ Pooja Faldu Davé
 6                                        POOJA FALDU DAVÉ, NY Bar #5011804
                                          Assistant United States Attorney
 7                                        700 Stewart Street, Suite 5220
                                          Seattle, WA 98101-1271
 8                                        Telephone No. (206) 553-7970
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 9                                        Email: pooja.dave@usdoj.gov

10                                        Attorney for Defendant United States of America

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 1                                      CERTIFICATE OF SERVICE

 2         The undersigned hereby certifies that he is an employee in the Office of the United States

 3 Attorney for the Western District of Washington and is a person of such age and discretion as to be

 4 competent to serve papers.

 5         It is further certified that on this date, I electronically filed the foregoing with the Clerk of the

 6 Court using the CM/ECF system, which will send notification of such filing to the following

 7 CM/ECF participant(s):

 8

 9         Andrew Z. Tapp                  Andrew@metropolitan.Legal

10         Stephen Pratt Hokanson          Sphokanson@outlook.com

11

12
                           DATED this 5th day of March, 2019.
13

14                                                  /s/ Marciano Quinonez
                                                   MARCIANO QUINONEZ
15                                                 Legal Assistant
                                                   Western District of Washington
16                                                 United States Attorney’s Office
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